Case 1:24-cv-00745-GHW Documents Filed 02/26/24 Page 1 of 1

UNITED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF NEW YORK

SUSAN COMPETELLO, ~
Plaintiff, Civil Action No.: 24 Civ. 00745
Date Filed: 02/05/24
vs ?
AFFIDAVIT OF SERVICE
MEANINGFUL BEAUTY, LLC.
Defendant. ) °
STATE OF CALIFORNIA
SS:
COUNTY OF LOS ANGELES

I, Luis A. Martinez being first duly sworn upon oath, depose and state that I am over the age of
eighteen (18) years and not a party to this lawsuit, and that in said County on the 14" day of February,
2024, at 1:15 p.m., I personally served the following documents upon Defendant

MEANINGFUL BEAUTY, LLC.:

SUMMONS IN A CIVIL ACTION

CLASS ACTION COMPLAINT

NOTICE OF INITIAL PRETRIAL CONFERENCE
CIVIL COVER SHEET

by hand delivering them with self-identified HILARY K. ROGERS, Director and authorized agent to
accept service of process, white female, about 50 years old, 5’2” tall, 115 Ibs., long dark hair, dark
eyes. LEP 2 —

A notary public or other officer completing this |
certificate verifies only the identity of the
individual who signed the document, to which this

Luis A. Martinez certificate is attached, and not the truthfulness,
California registered process server. accuracy, or validity of that document.
PEAK PROCESS SERVERS, INC.

48 Davis Ave., Port Washington, NY 11050 State of California, County of Los Angeles
Ph. 516-822 7070 Subscribed and sworn to (or affirmed)

before me on this 15% day of February, 2024
By Luis A. Martinez proved to me on the
basis of satisfactory evidence to be the

d before me.

person who appeare

Signature

Signatu Ne ay Public

sie ALEX LIRA
2 ue COMM, #2408480 %
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My ROTARY PUBLIC - CALIFORNIA
y LOS ANGELES COUNTY
Wily Comm. Expires July 16, 2026

